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Chief Judge Robert S. Lasnik

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UNlTED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHI'NG'I`ON

A'I` SEATTLE
IJNITE.D STATES OF AMERICA,
NO. CROS-ZGOI,
Plaintiff,
v. PLEA AGREEMENT
MA'I'l`I-[EW ALEX ERICKSON,
Del"endant.

 

The United States of Arneriea, by and through .lohn McKay, United States Attomey
for the Weslern Distriot of Washington, and Todd Greenberg, Assistant United States
Attomey, and Defendant, MA'l‘THEW ALEX ERICKSON, and his attorncy, Kenneih h`.
I<lanev, enter into the following Agrecment, pursuant to Federal Rule of Criminal
Procedure ll(e):

1. The §;harge. Defendant, having been advised oi` the right to have this
matter tried before a jury, agrees to waive that right and enter a plea of guilty to the
following charge contained in the Superseding Indietment. By entering this plea of
guilty, Defendant hereby waives all objections to the form of thc charging document
De[`endant farther understands that before entering his plea of guilty, Defendant will be
placed under oathr Any statement given by Dei`endant under oath may be used by the

government in a prosecution for perjury or false statement.

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a. Conspiraey to Distribute Cocainc Base, in violation of Title 21, United
States Code, Sections 84l(a)(1), 841(1‘))(1 )(A), and 846_, as charged in L"ount l of the
Superseding lndictment.

2. Elcments of the Ot`fensc.

a. Th.e elements of the offense of" Conspiracy to Distribute Coeaine Base, in
violation of Title 2], United States Code, Sections 841(a)(1), 841(b)(l)(A), and 846, as
charged in Count 1 of the Superseding [ndictment_, arc as follows:

i. Det`endant knowingly entered into an agreement wilh at least one

other person to distribute cocaine base;

ii. Def`endant knew that the objective of the agreement was to

distribute cocaine base', and

iii. Det`endant entered the agreement intending to further that obj eetive.

3. Tlie Penalties.

a. Det`endant understands that the statutory penalties for the ott`ense of
Conspiracy to Distribute Cocainc Base, in violation of Title 21, United States Code_,
Sections 841('¢1)(1`), Sdl(b)(l)(A), and 846, as charged in Count l ofthe Su_perseding
Indictment, are as follows: imprisonment t`or a tenn of up to life in prison, with a
mandatory minimum sentence often (10) years of imprisonment, a fine of up to four
million dollars ($4,000,000.00), a period of supervision following release from prison of
at least five (5) years, and a one-hundred dollar ($100.00) penalty assessment Defendant
agrees that the penalty assessment shall be paid at or before the time of` sentencingl

b. Det`endant understands that in addition to any term of imprisonment
and/or line that is imposcd, the Court may order Defendant to pay restitution to any
victim of the otTense, as required by law. Dcfcndant further understands that a
consequence ot` pleading guilty may include the forfeiture of certain property_, either as a
part of the sentence imposed by the Court, or as a result of civil judicial or administrative

process.

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e. Defendant further understands that in order to invoke the statutory
sentence set forth abovc, the l_lnited Statcs Would have had to prove beyond a reasonable
doubt at trial that the offense charged in the Superseding Indietment involved fifty (50)
grams or more of a mixture cr substance containing cocaine base. Defendant waives the
right to require the Un_ited States to make this proof, and stipulates that this plea of guilty
includes Defcndant’s acknowledgment that the offense involved fifty (50) grams or more
of a mixture or substance containing cocaine base.

d. Det`endant agrees that any monetary penalty the Ceurt impGS€S,
including the special assessment, tine, costs or restitution, is due and payable
immediately, and further agrees to submit a completed Financial Statentent of Debtor
form as requested by the United States Attorney’s Ofii ce.

e. Defendant understands that supervised release is a period of time
following imprisonment during which he will be subject to certain restrictions and
requirements Defendant further understands that if supervised release is imposed and he
violates one or more of its conditions, he could be returned to prison for all or part of the
term of supervised release that Was originally imposed. This could result in Defendant
serving a total term of imprisonment greater than the statutory maximum stated above

f. Det`endant understands that by pleading guilty to a felony drug offense_,
he Will become ineligible for certain food stamp and social security benefits under 21
U.S.C. § 862:1.

4. llights Waived by Eleading Guiliy Defendant understands that, by pleading
guilty, he knowingly and voluntarily waives the following rights:

a. The right to plead not guilty, and to persist in a plea ofnot guilty;

b. The right to a speedy and public trial before a jury of Det`endant's
peers;

c. 'fhe right to the effective assistance of counsel at trial, ineluding, if
Defendant could not afford an attorney, the right to have the Court appoint one for
De[`endant;

[_l'NTTED STATES ATTURNEY
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d. The right to be presumed innocent until guilt has been established at
trial, beyond a reasonable doubt;

e. The right to confront and cross-examine witnesses against Defendant
at trial;

f. The right to compel or subpoena witnesses to appear on Dcfendant's
behalf at trial;

g. The right to testify or to remain silent at trial, at which trial such
silence could not be used against Defeodant; and

h. The right to appeal a finding of guilt or any pretrial rulings.

5. MM@LM§. Defendant understands and
acknowledges that, at sentencing the Court must consider the sentencing range calculated
under the United States Sentencing Guidelines, together with the other factors set forth in
'l"itle lS, United States Code, Section 3553(a), incl'uding: (1) the nature and circumstances
of the oftense; (2) the history and characteristics of the defendant; (3) the need for the
sentence to reflect the seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense; (4) the need for the sentence to afford adequate
deterrence to criminal conduct; (5) the need for the sentence to protect the public from
further crimes of the defendant; (6) the need to provide thc defendant with educational
and vocational training, medical care, or other correctional treatment in the most effective
manner; (7] the kinds of sentences availablc', (8) the need to provide restitution to victims;
and (9) the need to avoid unwarranted sentence disparity among defendants involved in
similar conduct who have similar reeords. Accordingly, Defendant understands and
acknowledges that:

a. The Court will determine Defendant's applicable Sentencing
Guidelincs range at the time Of` sentencing;

b. After consideration of the Sentencing Guideiines and the other
factors in 13 U.S.C. 3553(=1), the Court may impose any sentence authorized by law, up to
the maximum term authorized by law;

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c. The Court is not bound by any recommendation regarding the
sentence to be itnposed, or by any calculation or estimation of` the Sentencing Guidelines
range offered by the partics, or by the United States Probation Deparlmcrlt; end

d. Dcfendant may not withdraw a guilty plea solely because of the
sentence imposed by the Court.

6. Ultimatc Sentence. Defendant acknowledges that no one has promised or
guaranteed what sentence the Court will impose.

7. Statcp;!ent of Facts. The parties agree on the following facts in support of
Dcf`endant`s guilty plea and sentencing De[`endant admits he is guilty of the charged
offense.

a, Danie| Ambaw and Kahsay Abraha distributed crack cocaine in the
Seattle and Everett areas. In or about Spring 2004, Erickson began to sell crack cocaine
for Ambaw and Abraha. In eschange, Ambaw and Abraha allowed Erickson to live with
them in various motel rooms, and paid Erickson small amounts of money. Colleetively,
Ambaw_, Abraha, and Erickson sold multiple ounces of crack cocaine per week When
Ambaw and Abraha obtained a new supply of crack cocaine, Ambaw would provide
E',rickson With a quantity to sell. Afier selling the drugs, Erickson gave the proceeds to
Arnbaw and Ahraha. ln addition to Erickson, other people worked for Ambaw and
Abraha selling crack cocaine, including the person referred to in the Indictment as
“M.G.A.” Ambaw distributed crack cocaine to Peggy Lee White. “M.G.A."` and Abraha
distributed crack cocaine to the person referred to in the Indictment as “J.M.M.”

8. Sentencing Factors. The parties agree and stipulate that the following
Sentencing Guidelines provisions apply to this case:

a. A base offense level of 32, pursuant to ll SSG § 2Dl.l(c)(4), because the
amount of cocaine base involved in the offense was more than 50 grams, but less than
150 grams.

h. A two-level downward adjustment, pursuant to USSG § 3Bl.2(a),
because the defendant was a minor participant in the offense

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ct The United States acknowledges that Defendant has assisted the United
States by timely notifying the authorities of his intention to plead guilty, thereby
pennining the United States to avoid preparing for trial and pertaining the Court to
allocate its resources efficiently lf at the time of sentencing, the United States remains
satisfied that Defendant has accepted responsibility, then it will recommend a sentence
that takes this acceptance of responsibility into considerationl Defendant understands and
agrees that the United Statcs will base its recommendation on factors set forth in the
United States Sentencing Guidelines, including Sectiorl 3El .l..

d. The parties agree that, with the exception of those listed above_, no other
upward or downward adjustments to the Defendant’s offense level are applicable The
Defendant maintains the right to move the Court for a downward departure at sentencing

9. Agreement Not to Filc Enhang§m§r_|]; l`-_"enalty Ngtice. Pursuant to this Plca
Agreement, and conditioned upon Defendant's fulfillment of all of its eenditions_, the
United States Attorney agrees not to tile an enhanced penalty information alleging
Defendant's prior felony drug conviction

li_`l. Non-Proseeution ofAdditional Offenses. As part of this Plca Agreement, the
United States Attomey’s Officc for the Wcstern Distriet of Washington agrees to dismiss
Cr)unts 2-6 of the lndictment at the time of sentencing, and agrees not to prosecute
Defendant for any additional offenses known to it as of the time of this Agreement that
are based upon evidence in its possession at this time, or that arise out of the conduct
giving rise to this investigation ln this regard, Defendant recognizes that the United
States has agreed not to prosecute all of the criminal charges that the evidence establishes
were committed by Defendant solely because ofthc promises made by Defendant irl this
Agreement. Defendant acknowledges and agrees, however, that for purposes of
preparing the Presentence Reporl, the United States _Attorney’s Ol`fice will provide the
United States l*robat.ion Office with evidence of all relevant conduct committed by

Defendant

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Defendant agrees and acknowledges that any charges to be dismissed before
or at the time of sentencing were substantially justified in light of the evidence available
to the United States, were not vexatious, frivolous or taken in bad faith, and do not
provide Defendant with a basis for any liiture claims under the "Hyde Amendment,"
Pub.i,.. Ne. 105-119 (1997).

ll. Post-Plea Conduct. Defendant understands that the terms ot`this Plca
Agreement apply only to conduct that occurred prior to the execution of this r\greement.
If, after the date of this Agreement, Defendant should engage in illegal conduct, or
conduct that is in violation of hisfher conditions of release (examples of which i_nc_lude,
but are not limited to: obstruction of j ustice, failure to appear for a court proceeding
criminal conduct while pending sentencing, and false statements to law enforcement
agents, the Pretrial Serviees Offieer, Probation Officer or Court), the United States is free
under this Agreement to seek a sentence that takes such conduct into consideration Such
a sentence could include a sentencing enhancement under the United States Sentencing
Guidelines or an upward departure from the applicable sentencing guidelines range

12. Statute of Limitations. ln the event that this Agreement is not accepted by
the Court for any reason_. or Defendant has breached any ofthe terms of this Plea
Agreemcnt, the statute of limitations shall be deemed to have been tolled from the date of
the Plea Agreement to: (l) 30 days following the date of non-acceptance of the Plea
Agreemcnt by the Court; or (2) 30 days following the date on which a breach of the Plea
Agreement by Defendant is discovered by the United States Attorney’s Offtce.

13. Vglnntarincss of Plca. Defendant aelmowledges that he has entered into
this Plea Agreement freely and voluntarily, and that no threats or promises, oth cr th an the
promises contained in this Plea Agreement, were made to induce Defendant to enter this
plea ol`guilty.

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l4. Completeness of Ageemgnt. The United States and Defendant

acknowledge that these terms constitute thc entire Plea Agreemcnt between the parties

’l`his Agrcement only binds the United States Attomey’s Office for the Wcstern District of

Washington. lt does not bind any other United States Attomey’s Offtce or any other

office or agency of the United States, or any state or local prosceutor.

 

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Defendant

Kcnneth E. Kanev
Attorney for Defendant

     

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Assistant nited States Attorney

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Todd Greenb_erg
Assistant Unite States Attoruey

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